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lN THE UN|TED STATES DlSTRlCT COURT
FOR THE WESTERN DlSTRlCT OF TENNESSEE
EASTERN D|V|SlON

UN|TED STATES OF AMER|CA,
Plaintiff,
Cr. No. 04-100 1

V.

BlLLY GA|L B|RMINGHAM

`-'vv~v`d\-I'h-Iv

Defendant.

 

MOT|ON FOR CONT|NUANCE OF REPOR]{JATE

 

  
   
    
    
    
   
   
     
 

COMES NOW, the United States of America, and through Terre|l i_. Harris,

Unitecl States Attorney, and Jerry R. Kitchen, As ` tant United States Attorney for the

Western District of Tennessee, and movest ' Honorable Court for a continuance of the

report date in the above-styled cause d for grounds which state as follows:

This case is set for rep competency hearing on Tuesday, June 7, 2005 at 9:00

a.m. Assistant U.S. A rney Kitchen has been out of the office and in training between

N|ay 23, 2005 a June 6, 2005 and as such, requires additional time to prepare.

Def se counsel has been consulted and does not object to a continuance
HEREFORE, premises considered, the Government requests that the report date

be eset for Friday. June 10' '20&®$)`}%¥8 %liijo >iB?»-"O

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g, SDA’)°" -o-g }\9 GBU James o. Todd

Thb document mud mm mm°°mém .S. Dislrict Judge
with I'-\ule 55 andlor 32(1)) FRCrP on ` dog

GRANTEQ

  
   

  
  

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Respectfully submitted,

TERRELL L. HARR|S
United States Attorney

Fa~arkaaa¢way%

Jerry R .CKitchen

Assistant United States Attorney

109 South l-iigh|and Avenue, Suite 300
Jackson, Tennessee 38301

(731) 422-6220

CERT|F|CATE OF SERVlCE
l, Jerry R. Kitchen, do hereby certify that | have this date delivered a true and exact

copy of the foregoing to Joe H. Byrd, Jr., Byrd & Byrd, PLLC, PO Box 2764, Jackson, TN
38302.

r@/' n
This the j ’ day ofJune, 2005.

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Jerry Bf Kitchen
Assistant United States Attorney

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 1:04-CR-10071 Was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed.

 

 

Joe H. Byrd

BYRD DONAHOE & BYRD
P.O. Box 2764

Jackson7 TN 3830]--276

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson7 TN 38301

Honorable J ames Todd
US DlSTRlCT COURT

